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Randall L. Kallinen <attorneykalline = Fri, Sep 1 at 11:03 AM Ww
(© To: Hernandez, Sara (BOP),

Franco, Mary (BOP),

Allen, Sonja (BOP)

Dear Ms. Allen,

Good morning. I have received no response to the email below. I
need to speak with my client about her pressing legal matters and
her need for immediate medical care. When may I speak with her?

Sincerely,

Randall L. Kallinen

KALLINEN LAW PLLC

511 Broadway Street

Houston, Texas 77012
Telephone: 713/320-3785

FAX: 713/893-6737

Email: attorneykallinen@aol.com

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On Friday, August 25, 2023 at 12:11:13 PM CDT, Randall L. Kallinen
<attorneykallinen@aol.com> wrote:

Dear Ms. Allen,

Good afternoon. I need to speak with my client about legal
matters. When may I speak with her?

Sincerely,

Randall L. Kallinen

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Houston, Texas 77012
Telephone: 713/320-3785

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